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                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

   OMAR OROZCO,

                           Plaintiff,

   v.                                                         Case No: 6:17-cv-1751-Orl-31KRS

   HIBBETT SPORTING GOODS, INC.,

                           Defendant.


                                                 ORDER
             This cause came on for consideration without oral argument on the following motion filed

   herein:

             MOTION:       AGREED MOTION FOR EXTENSION OF TIME TO
                           RESPOND TO COMPLAINT (Doc. No. 20)

             FILED:        December 14, 2017



             THEREON it is ORDERED that the motion is GRANTED.

             The deadline for Defendant to answer or otherwise respond to Plaintiff’s Complaint is

   extended up to and including January 18, 2018. This deadline will not likely be further extended

   absent a showing of extraordinary circumstances.

             DONE and ORDERED in Orlando, Florida on December 15, 2017.

                                                         Karla R. Spaulding
                                                          KARLA R. SPAULDING
                                                    UNITED STATES MAGISTRATE JUDGE
